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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                      EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:17-10105-6-STA
                                    )
DANIEL RANGER,                     )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on February 1, 2019, Assistant United States Attorney, Jerry Kitchen,
appearing for the Government and the defendant, Daniel Ranger, appearing in person, and with counsel,
Juni Ganguli.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1,8,9 of the Superseding Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, MAY 7, 2019 at 10:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 1st day of February, 2019.


                                                    s/ S. Thomas Anderson
                                                    CHIEF JUDGE, U. S. DISTRICT COURT
